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                EXHIBIT A
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                                                                                                  August 11, 2020


Jim Lebs                                                             Invoice #:   429529
CraftWorks Holdings Inc.                                             Client #:     20932
Chief Financial Officer                                              Matter #:      0002
3011 Armory Drive
Suite 300
Nashville, TN 37204
________________________________________________________________________________________

For professional services through July 31, 2020:

RE: Chapter 11


PROFESSIONAL SERVICES


Asset Disposition


  Date     Atty     Description                                                        Hours      Rate    Amount
7/10/20    DEP      Review sale motion and related declaration and comment on           2.10    685.00    1,438.50
                    same
7/10/20    DEP      Emails with Katten team re: sale motion and related issues           .30    685.00      205.50
7/10/20    MWY      Review and address sale motion                                      1.30    475.00      617.50
7/20/20    MWY      Follow up on sale motion                                             .30    475.00      142.50
7/28/20    MWY      Address sale order supplement                                        .20    475.00       95.00


                                       Task Total:                                                       $ 2,499.00

Assumption and Rejection of Leases and C


          Date    Atty        Description                                  Hours           Rate           Amount
     7/20/20      MWY         Address 365d4 extension                            .40     475.00             190.00


                                       Task Total:                                                        $ 190.00
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20932: CraftWorks Holdings Inc.                                                                August 11, 2020
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Claims Administration and Objections


   Date   Atty    Description                                                       Hours     Rate    Amount
7/24/20   MWY     Address admin claim motion                                          .60    475.00    285.00
7/27/20   MWY     Follow up on court requests on Seritage documentation               .90    475.00    427.50


                                    Task Total:                                                       $ 712.50

Case Administration


  Date    Atty   Description                                                         Hours     Rate   Amount
7/01/20   MRB    Review Bradley documents                                              .20   735.00    147.00
7/07/20   MRB    Review additional assurance request from Pope                         .10   735.00     73.50
7/08/20   MRB    Review motion to dismiss                                              .30   735.00    220.50
7/10/20   MKH    Draft Notice re Debtors' Motion for an Order (I) Authorizing and      .70   275.00    192.50
                 Approving Private Sale of Membership Interests of Logan's
                 Roadhouse, Inc. in Martins BBQ West End LLC, Free and Clear
                 of All Liens, Claims, Encumbrances, and Other Interests; (II)
                 Authorizing and Approving Assumption and Assignment of
                 Unexpired Leases Related Thereto; and (III) Granting Related
                 Relief
7/10/20   MKH    Review and revise Debtors' Motion for an Order (I) Authorizing        .90   275.00    247.50
                 and Approving Private Sale of Membership Interests of Logan's
                 Roadhouse, Inc. in Martins BBQ West End LLC, Free and Clear
                 of All Liens, Claims, Encumbrances, and Other Interests; (II)
                 Authorizing and Approving Assumption and Assignment of
                 Unexpired Leases Related Thereto; and (III) Granting Related
                 Relief; proposed order re same and Declaration
7/10/20   MKH    Revise and finalize Debtors' Motion for an Order (I) Authorizing      .70   275.00    192.50
                 and Approving Private Sale of Membership Interests of Logan's
                 Roadhouse, Inc. in Martins BBQ West End LLC, Free and Clear
                 of All Liens, Claims, Encumbrances, and Other Interests; (II)
                 Authorizing and Approving Assumption and Assignment of
                 Unexpired Leases Related Thereto; and (III) Granting Related
                 Relief/proposed Order/Notice for filing and efile same with
                 Bankruptcy Court
7/10/20   MKH    Update case calendar with objection deadlines                         .20   275.00     55.00




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  Date    Atty   Description                                                       Hours     Rate    Amount
7/10/20   MKH    Revise and finalize Declaration of Mark Smith in Support of         .60    275.00    165.00
                 Debtors' Motion for an Order (I) Authorizing and Approving
                 Private Sale of Membership Interests of Logan's Roadhouse,
                 Inc. in Martins BBQ West End LLC, Free and Clear of All Liens,
                 Claims, Encumbrances, and Other Interests; (II) Authorizing
                 and Approving Assumption and Assignment of Unexpired
                 Leases Related Thereto; and (III) Granting Related Relief for
                 filing and efile same with Bankruptcy Court
7/13/20   MKH    Update case calendar re objection deadlines                         .40    275.00    110.00
7/17/20   DEP    Review motion to dismiss                                            .90    685.00    616.50
7/17/20   MWY    Review motion to dismiss                                            .70    475.00    332.50
7/20/20   DEP    Review UST comments and issues for upcoming hearing                 .50    685.00    342.50
7/20/20   MKH    Draft and finalize Certificate of No Objection Regarding Motion     .70    275.00    192.50
                 of the Debtors for Entry of an Order (A) Approving the
                 Settlement Agreement By and Among the Debtors, Fortress
                 Credit Co LLC, and Hazem Ouf; and (B) Granting Related
                 Relief/proposed order for filing and efile same with Bankruptcy
                 Court
7/20/20   MKH    Prepare for and upload proposed order re Motion of the Debtors      .60    275.00    165.00
                 for Entry of an Order (A) Approving the Settlement Agreement
                 By and Among the Debtors, Fortress Credit Co LLC, and
                 Hazem Ouf; and (B) Granting Related Relief with Bankruptcy
                 Court
7/20/20   MKH    Draft and prepare CNO re Motion of the Debtors to Extend the        .60    275.00    165.00
                 Deadline to Assume or Reject Unexpired Leases of
                 Nonresidential Real Property Pursuant to Section 365(d)(4) of
                 the Bankruptcy Code/proposed order for filing and efile same
                 with Bankruptcy Court
7/20/20   MKH    Prepare for and upload proposed order re Motion of the Debtors      .50    275.00    137.50
                 to Extend the Deadline to Assume or Reject Unexpired Leases
                 of Nonresidential Real Property Pursuant to Section 365(d)(4)
                 of the Bankruptcy Code with Bankruptcy Court
7/20/20   MWY    Review and address UST inquiries on hearing                         .70    475.00    332.50
7/22/20   MWY    Address utility request and payment issues                          .60    475.00    285.00
7/23/20   MKH    Draft agenda for July 29, 2020 fee and omnibus hearing             1.20    275.00    330.00
7/23/20   MKH    Update case calendar re upcoming hearing and objection              .30    275.00     82.50
                 deadlines
7/23/20   MWY    Address Windstream payment issues (.3)/ address agenda and          .90    475.00    427.50
                 hearing (.6)
7/24/20   DEP    Review agenda (.70) / emails with Katten re: same (.30)            1.00    685.00    685.00
7/24/20   MKH    Revise agenda for July 29, 2020 hearing; prepare email to          1.40    275.00    385.00
                 counsel attaching same for review



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  Date    Atty   Description                                                         Hours     Rate     Amount
7/24/20   MKH    Review and prepare Certification of Counsel Regarding                 .50    275.00      137.50
                 Stipulation Resolving Motion for Administrative Claim/proposed
                 order for filing and efile same with Bankruptcy Court
7/24/20   MWY    Address hearing and agenda issues                                    1.60    475.00      760.00
7/26/20   MWY    Address agenda and hearing issues                                     .70    475.00      332.50
7/27/20   MKH    Draft and finalize Certification of Counsel re Omnibus Hearing        .70    275.00      192.50
                 Date/proposed order for filing and efile same with Bankruptcy
                 Court
7/27/20   MKH    Prepare for and upload proposed order re Certification of             .40    275.00      110.00
                 Counsel re Omnibus Hearing Date with Bankruptcy Court
7/27/20   MKH    Prepare for and upload proposed order re Stipulation Resolving        .50    275.00      137.50
                 Motion for Administrative Claim with Bankruptcy Court
7/27/20   MKH    Revise and finalize agenda for July 29, 2020 hearing for filing       .80    275.00      220.00
                 and efile same with Bankruptcy Court
7/27/20   MKH    Draft and finalize amended agenda for July 29, 2020 hearing for       .50    275.00      137.50
                 filing and efile same with Bankruptcy Court
7/27/20   MWY    Work on agenda and hearing issues                                    1.40    475.00      665.00
7/27/20   MWY    Address additional hearing scheduling                                 .30    475.00      142.50
7/28/20   MKH    Update case calendar re upcoming hearing and deadlines                .40    275.00      110.00
7/29/20   MWY    Hearing on cure issues                                                .50    475.00      237.50
7/30/20   MRB    Review motion to dismiss                                              .20    735.00      147.00
7/30/20   MWY    Work on utility inquiries                                             .70    475.00      332.50
7/30/20   MWY    Review dismissal pleadings                                            .60    475.00      285.00


                                     Task Total:                                                       $ 9,829.50

Employment and Fee Applications


  Date    Atty   Description                                                        Hours      Rate     Amount
7/01/20   DEP    Review and revise Klehr Interim Fee Application                       .50    685.00      342.50
7/01/20   MKH    Draft and finalize KHHB 2nd Monthly Fee Application for April        1.40    275.00      385.00
                 2020 /Notice/Charts/Certification for filing and efile same with
                 Bankruptcy Court
7/01/20   MKH    Draft and finalize KHHB 3rd Monthly Fee Application for May          1.30    275.00      357.50
                 2020 /Notice/Charts/Certification for filing and efile same with
                 Bankruptcy Court
7/01/20   MKH    Draft and prepare Klehr Harrison's First Interim Fee Application     2.40    275.00      660.00
                 for March 3 2020 through May 31,
                 2020/Notice/Charts/Certification for filing and efile same with
                 Bankruptcy Court


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  Date    Atty   Description                                                          Hours    Rate    Amount
7/01/20   MWY    Work on Bradley engagement modification                               1.10   475.00    522.50
7/02/20   DEP    Review and comment on amended retention applications (.70) /          1.00   685.00    685.00
                 emails with Katten team re: same (.30)
7/02/20   MKH    Review and prepare Supplemental Declaration of T. Parker               .40   275.00    110.00
                 Griffin, Jr. in Support of the Application of Debtors for Entry of
                 an Order Authorizing the Retention and Employment of Bradley
                 Arant Boult Cummings LLP as Special Counsel for the Debtors
                 Nunc Pro Tunc to April 17, 2020 for filing and efile same with
                 Bankruptcy Court
7/02/20   MWY    Review amended retention documents (0.9) / call with Katten           2.20   475.00   1,045.00
                 team on amended retention (0.3) / work on revised amended
                 retention applications (0.8) / revise amended retention
                 documents (0.2)
7/06/20   MWY    Call on Bradley fee application (.3)/ follow up on Bradley fee         .90   475.00    427.50
                 application issues (.6)
7/09/20   MKH    Review case docket; draft and prepare CNO re Combined                  .70   275.00    192.50
                 Monthly Fee Application of Prime Clerk LLC, Administrative
                 Advisor to the Debtors, for Compensation for Services and
                 Reimbursement of Expenses for the Period from (I) March 3,
                 2020 through March 31, 2020 and (II) May 1, 2020 through May
                 31, 2020 for filing and efile same with Bankruptcy Court
7/09/20   MKH    Review case docket; draft and prepare CNO re Third Monthly             .70   275.00    192.50
                 Fee Statement of Katten Muchin Rosenman LLP (Katten) As
                 Counsel to the Debtors for Compensation for Services
                 Rendered and Reimbursement of Expenses for the Period of
                 May 1, 2020 Through May 31, 2020 for filing and efile same
                 with Bankruptcy Court
7/09/20   MWY    Address Bradley fee application                                        .40   475.00    190.00
7/13/20   MKH    Draft Notice re Fourth Monthly Fee Statement of M-III Advisory         .70   275.00    192.50
                 Partners, LP as Financial Advisor to the Debtors for
                 Compensation for Services Rendered and Reimbursement of
                 Expenses for the period June 1, 2020 to June 30, 2020
7/13/20   MKH    Review revise and prepare Fourth Monthly Fee Statement of              .60   275.00    165.00
                 M-III Advisory Partners, LP as Financial Advisor to the Debtors
                 for Compensation for Services Rendered and Reimbursement
                 of Expenses for the period June 1, 2020 to June 30,
                 2020/Notice for filing and efile same with Bankruptcy Court
7/13/20   MWY    Address miii fee statement                                             .20   475.00     95.00
7/16/20   MKH    Review revise and prepare Certification of Counsel Regarding           .60   275.00    165.00
                 Stipulation Amending Fees of Bradley Arant Boult Cummings
                 LLP as Special Counsel for the Debtors/proposed
                 order/stipulation for filing and efile same with Bankruptcy Court




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  Date    Atty   Description                                                         Hours      Rate    Amount
7/16/20   MKH    Prepare for and upload proposed order re Stipulation Amending          .50    275.00    137.50
                 Fees of Bradley Arant Boult Cummings LLP as Special Counsel
                 for the Debtors with Bankruptcy Court
7/16/20   MKH    Draft and prepare Certificate of No Objection Regarding Final          .70    275.00    192.50
                 Fee Application of Configure Partners, LLC for Compensation
                 for Services Rendered and Reimbursement of Expenses
                 Incurred as Investment Banker for the Debtors and Debtors in
                 Possession for the Period from March 3, 2020 through June 1,
                 2020/proposed order for filing and efile same with Bankruptcy
                 Court
7/16/20   MKH    Prepare for and upload proposed order re Final Fee Application         .50    275.00    137.50
                 of Configure Partners, LLC for Compensation for Services
                 Rendered and Reimbursement of Expenses Incurred as
                 Investment Banker for the Debtors and Debtors in Possession
                 for the Period from March 3, 2020 through June 1, 2020 with
                 Bankruptcy Court
7/16/20   MKH    Review and review proposed order re Final Fee Application of           .40    275.00    110.00
                 Configure Partners, LLC for Compensation for Services
                 Rendered and Reimbursement of Expenses Incurred as
                 Investment Banker for the Debtors and Debtors in Possession
                 for the Period from March 3, 2020 through June 1, 2020
7/16/20   MWY    Address Bradley amendment (.6)/ address Configure final               1.20    475.00    570.00
                 application (.6)
7/17/20   MWY    Review configure application (.2)/ review and address Bradley          .90    475.00    427.50
                 application (.7)
7/20/20   MKH    Review case docket; draft and prepare CNO re First Monthly             .80    275.00    220.00
                 Fee Application of Klehr Harrison Harvey Branzburg LLP for
                 Payment of Compensation and Reimbursement of Expenses as
                 Co-Counsel for the Debtors for the Period from March 3, 2020
                 through March 31, 2020 for filing and efile same with
                 Bankruptcy Court
7/20/20   MWY    Call with P Griffin on fee application (.2)/ address Bradley           .90    475.00    427.50
                 inquiries on application (.7)
7/23/20   DEP    Review status of pending monthly fee applications                      .30    685.00    205.50
7/23/20   MKH    Review docket; draft and prepare CNO re Third Monthly Fee              .70    275.00    192.50
                 Application of Klehr Harrison Harvey Branzburg LLP for
                 Payment of Compensation and Reimbursement of Expenses as
                 Co-Counsel for the Debtors for the Period from May 1, 2020
                 through May 31, 2020 for filing and efile same with Bankruptcy
                 Court




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20932: CraftWorks Holdings Inc.                                                                    August 11, 2020
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  Date    Atty   Description                                                           Hours      Rate    Amount
7/23/20   MKH    Review case docket; draft and prepare CNO re Second                      .80    275.00    220.00
                 Monthly Fee Application of Klehr Harrison Harvey Branzburg
                 LLP for Payment of Compensation and Reimbursement of
                 Expenses as Co-Counsel for the Debtors for the Period from
                 April 1, 2020 through April 30, 2020 for filing and efile same
                 with Bankruptcy Court
7/23/20   MKH    Draft first interim fee application index for all professionals all     2.60    275.00    715.00
                 and related documents for July 29, 2020 fee hearing for
                 delivery to Judge
7/24/20   MKH    Draft and prepare CNO re First Interim Fee Application of                .80    275.00    220.00
                 Katten Muchin Rosenman LLP for Compensation for Services
                 Rendered and Reimbursement of Expenses as Counsel to the
                 Debtors for the Period March 3, 2020 through May 31, 2020 for
                 filing and efile same with Bankruptcy Court; confer with D.
                 Pacitti re same
7/24/20   MKH    Draft first omnibus fee order for interim fee applications               .70    275.00    192.50
7/24/20   MKH    Draft fee chart for professionals re first interim fee applications     1.20    275.00    330.00
7/24/20   MWY    Address Bradley fee application and coordination with Court             1.10    475.00    522.50
7/24/20   MWY    Work on interim fee procedures and documents                             .80    475.00    380.00
7/27/20   DEP    Review for filing the Fourth Monthly Fee Statement of Katten             .30    685.00    205.50
7/27/20   DEP    Emails from Katten team re: interim fee application issues               .30    685.00    205.50
7/27/20   MKH    Revise review and prepare Final Fee Application of Bradley               .60    275.00    165.00
                 Arant Boult Cummings LLP for Compensation for Services
                 Rendered as Special Counsel for the Debtors for the period
                 April 17, 2020 to July 22, 2020/Notice/Exhibit/Proposed Order
                 for filing and efile same with Bankruptcy Court
7/27/20   MKH    Draft Notice re Fourth Monthly Fee Statement of Katten Muchin            .60    275.00    165.00
                 Rosenman LLP as Counsel to the Debtors for Compensation
                 for Services Rendered and Reimbursement of Expenses for the
                 period June 1, 2020 to June 30, 2020
7/27/20   MKH    Review and prepare Fourth Monthly Fee Statement of Katten                .60    275.00    165.00
                 Muchin Rosenman LLP as Counsel to the Debtors for
                 Compensation for Services Rendered and Reimbursement of
                 Expenses for the period June 1, 2020 to June 30, 2020/Notice
                 for filing and efile same with Bankruptcy Court
7/27/20   MKH    Revise and finalize Certification of Counsel re Interim Fee              .70    275.00    192.50
                 Applications/proposed fee order and fee chart for filing and efile
                 same with Bankruptcy Court
7/27/20   MKH    Prepare for and upload proposed omnibus order re interim fee             .50    275.00    137.50
                 applications and professional fee chart with Bankruptcy Court
7/27/20   MWY    Address interim fee order documentation (1.3)/ work on Bradley          1.80    475.00    855.00
                 fee application (.5)
7/28/20   MWY    Follow up on Bradley fee application                                     .30    475.00    142.50


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  Date     Atty     Description                                                         Hours         Rate   Amount
7/30/20    MKH      Update fee and expense chart of all professionals relating to            .80   275.00     220.00
                    order entered on interim fee applications


                                         Task Total:                                                     $ 13,381.50

Relief from Stay and Adequate Protection


          Date    Atty        Description                                   Hours              Rate          Amount
    7/07/20       MWY         Address lift stay response                        .20          475.00            95.00


                                         Task Total:                                                         $ 95.00

                                         TOTAL PROFESSIONAL SERVICES                                     $ 26,707.50


SUMMARY OF PROFESSIONAL SERVICES

Atty             Name                                              Hours              Rate                     Total
MRB              Branzburg, Morton R.                                 .80           735.00                    588.00
DEP              Pacitti, Domenic E.                                 7.20           685.00                  4,932.00
MKH              Hughes, Melissa K.                                 34.90           275.00                  9,597.50
MWY              Yurkewicz, Michael W.                              24.40           475.00                 11,590.00
                 TOTALS                                             67.30                                $ 26,707.50




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DISBURSEMENTS



Description                                                                                 Amount
Express Delivery                                                                               21.13
Filing Fees                                                                                    25.00
Special Copy                                                                                4,256.90
Conference Call Charges                                                                       170.25

                                  TOTAL DISBURSEMENTS                                     $ 4,473.28

                                  TOTAL THIS INVOICE                                     $ 31,180.78




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                                                                                                                       


                                                          

                               
                        

                    
                                
                           
                                   
              
                                  
                                    
                                  

                                          
                                     




                      


                       
                     



                  
                 
                    




                        
                      
   

                               
                        


                    
                                
                           
                                   
              
                                  




                                                     
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                                                                                                                       


                                                          

                               
                        

                    
                                
                           
                                   
              
                                  
                                    
                                  

                                          
                                     




                      


                       
                     



                  
                 
                    




                        
                      
   

                               
                        


                    
                                
                           
                                   
              
                                  




                                                     
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                                                                                                                       


                                                          

                               
                        

                    
                                
                           
                                   
              
                                  
                                    
                                  

                                          
                                     




                      


                       
                     



                  
                 
                    




                        
                      
   

                               
                        


                    
                                
                           
                                   
              
                                  




                                                     
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                                                                                                                       


                                                          

                               
                        

                    
                                
                           
                                   
              
                                  
                                    
                                  

                                          
                                     




                      


                       
                     



                  
                 
                    




                        
                      
   

                               
                        


                    
                                
                           
                                   
              
                                  




                                                     
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                                                                                                                


                                                         

                              
                                

                    
                            
                                  
                                            
              
                                 
                                   
                               

                                       

                                    

                                                     
                                                    
                                               


                                                                                        
                                                                           

                      



                  
                                                                                                
                                 
     


                          
 
                          
                                                                                             
                              
      



                              
           
                                                                                           
       

                                  
                              


                    
                                    
                                 
                                            
              
                          



                                                                
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From:          Pacitti, Domenic
To:            Hughes, Melissa; Delaney, Suzanne
Subject:       Fwd: RELIABLE INVOICES
Date:          Monday, July 20, 2020 1:22:45 PM
Attachments:   Reliable WL085939 MH.pdf
               ATT00001.htm
               Reliable WL086104 MH.pdf
               ATT00002.htm
               Reliable WL090438 MH.pdf
               ATT00003.htm
               Reliable WL091310 MH.pdf
               ATT00004.htm
               Reliable WL091341 MH.pdf
               ATT00005.htm
               Reliable WL091364 MH.pdf
               ATT00006.htm
               Reliable WL091465 MH.pdf
               ATT00007.htm
               Reliable WL091777 MH.pdf
               ATT00008.htm
               Reliable WL091819.pdf
               ATT00009.htm
               Reliable WL091866 MH.pdf
               ATT00010.htm
               Reliable WL092281 MH.pdf
               ATT00011.htm
               Reliable WL092282 MH.pdf
               ATT00012.htm
               Reliable WL092288 MH.pdf
               ATT00013.htm
               Reliable WL092389 MH.pdf
               ATT00014.htm
               Reliable WL092793 DEP.pdf
               ATT00015.htm
               Relliable WL092715 MH.pdf
               ATT00016.htm


Approved

Domenic E. Pacitti
Klehr | Harrison | Harvey | Branzburg LLP
919 N. Market St., Suite 1000
Wilmington, Delaware 19801
302-552-5511 (Direct)
215-260-1382 (Cell)
302-426-9193 (Facsimile)

Begin forwarded message:


      From: "Hughes, Melissa" <MHughes@klehr.com>
      Date: July 20, 2020 at 1:09:10 PM EDT
      To: "Delaney, Suzanne" <SDelaney@klehr.com>, "Pacitti, Domenic"
      <DPacitti@klehr.com>
      Subject: RELIABLE INVOICES
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Kuhn, Susan

From:                            Hughes, Melissa
Sent:                            Monday, June 29, 2020 8:48 PM
To:                              Kuhn, Susan
Subject:                         FW: Pay.gov Payment Confirmation: DELAWARE DISTRICT COURT


20932.0002

-----Original Message-----
From: do_not_reply@psc.uscourts.gov <do_not_reply@psc.uscourts.gov>
Sent: Monday, June 29, 2020 6:58 PM
To: Hughes, Melissa <MHughes@klehr.com>
Subject: Pay.gov Payment Confirmation: DELAWARE DISTRICT COURT

Your payment has been successfully processed and the details are below. If you have any questions or you wish to
cancel this payment, please contact: Clerk Office at 3025736170.

 Account Number: 4215899
 Court: DELAWARE DISTRICT COURT
 Amount: $25.00
 Tracking Id: ADEDC-3026047
 Approval Code: 028394
 Card Number: ************1061
 Date/Time: 06/29/2020 06:58:19 ET


NOTE: This is an automated message. Please do not reply




                                                          1
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